UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

MICHAEL DONOGHUE and PREMIUM
MORTGAGE CORP.,

                      Plaintiffs,
                                                             NOTICE OF MOTION
      -against-
                                                                Civil Action No.:
CYNTHIA NOSTRO, DYLAN RANDALL, DAVID                          6:20-CV-06100-EAW
POPHAM and EVERETT FINANCIAL, INC. d/b/a
SUPREME LENDING,

                      Defendants.


BY:                            Plaintiffs Michael Donoghue and Premium Mortgage
                               Corp.


DATE, TIME AND                 At the United States District Court, Western District of
PLACE OF HEARING:              New York, United States Courthouse, 100 State Street,
                               Rochester, New York before the Honorable Magistrate
                               Judge Mark W. Pedersen at a date, place and time to be
                               determined by the Court.


RELIEF SOUGHT:                 An Order (1) compelling Defendants to respond fully
                               and completely to Plaintiffs' outstanding discovery
                               demands; (2) Requiring that the Defendants reclassify
                               their productions in accord with the terms of the parties'
                               Stipulated Protective Order; or be precluded from
                               relying on it (3) Requiring that the Individual
                               Defendants amend their responses to discovery requests
                               to identify which Defendant is the custodian producing
                               particular documents; (4) that any non-responding
                               Defendant be required to attend a deposition at that
                               Defendant's expense concerning preservation of
                               documents and spoliation and face potential sanctions ,
                               (5) that forensic examinations of Defendants' electronic
                               devices be ordered at their expense, (6) that the
                               Defendants and/or their counsel be ordered to pay the
                               costs of this and prior Motions and reasonable attorneys'
                               fees as well as costs and fees for depositions and other
                               procedures necessitated by their non-compliance; and
                                        (7) that the Court award Plaintiffs such other and further
                                        relief as may be proper and warranted by Defendants’
                                        failure to comply with the discovery process.




 SUPPORTING PAPERS:                     Declaration of Good Faith of Sharon P. Stiller, Esq. in
                                        Support of Plaintiffs’ Motion to Compel Discovery,
                                        dated April 29, 2022, with attached exhibits; and
                                        Memorandum of Law in Support of Plaintiffs’ Motion to
                                        Compel Discovery, dated April 29, 2022.

         PLEASE TAKE FURTHER NOTICE that, pursuant to Local Rule 7(a)(1), Plaintiffs

intend to file and serve reply papers and, unless a different schedule is ordered by the Court, will

do so within seven (7) days after service of papers responsive to this motion.



Dated:      April 29, 2022
            Rochester, New York               ABRAMS FENSTERMAN, LLP.

                                              By: /s/ Sharon P. Stiller
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TO:

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